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 ATTORNEY FOR MOVANT: ALLY CAPITAL

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                      NEWARK DIVISION


 IN RE:                                               §     CASE NO. 22-16089-VFP
                                                      §
 JONOTHAN FOREMAN, Debtor                             §     CHAPTER 13
                                                      §
                                                      §     Hearing date: February 16, 2023@10:00
                                                      §     A.M.
                                                      §
                                                      §     NOTICE OF MOTION TO VACATE
                                                      §     AUTOMATIC STAY
                                                      §     WITH WAIVER OF RULE 4001(a)(3)
 TO:

 Camille J Kassar                                         Jonothan Foreman
 271 Route 46 West, Suite C-102                           24 Mountain Avenue
 Fairfield, NJ 07004                                      West Orange, NJ 07052
 Marie-Ann Greenberg                                      U.S. TRUSTEE
 30 Two Bridges Rd, Suite 330                             One Newark Center Ste 2100
 Fairfield, NJ 07004                                      Newark, NJ 07102
 magecf@magtrustee.com                                    USTPRegion03.NE.ECF@usdoj.gov
 P LEASE TAKE NOT ICE that on Thursday,February 16, 2023 at 10:00 A.M., or as soon as the
 matter may be heard, the undersigned, attorneys for Secured Creditor Ally Capital its assignees and/or
 successors in interest, will move before the Honorable Vincent F. Papalia of the United States
 Bankruptcy Court, 50 Walnut Street, Newark, NJ 07102 for the entry of an Order Vacating the
 Automatic Stay with respect to Debtor's 2011 Mercedes-Benz GL-Class Utility 4D GL550 4WD 5.5L
 V8, V.I.N. 4JGBF8GE3BA738682, and allowing Ally Capital to continue or institute a repossession
 action, by reason of the Debtor's failure to make regular monthly payments to Ally Capital.
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                                                Respectfully Submitted,

                                                Lavin, Cedrone, Graver, Boyd & DiSipio
                                                Attorney for Movant
 Dated : January 24, 2023
                                                /s/ Regina Cohen
                                                Regina Cohen
